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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )           Case No. 8:11CR72
                                             )
              v.                             )
                                             )     FINDINGS AND RECOMMENDATION
BERNARDO RODRIGUEZ-FAVELA,                   )              AND ORDER
                                             )
                     Defendant.              )


       At the conclusion of the hearing on May 13, 2011, on defendant’s Motion to
Suppress (#45), I stated my conclusions on the record and my decision to recommend that
the motion to suppress be denied. In accordance with that announcement,
       IT IS RECOMMENDED to the Honorable Smith Camp, United States District Judge,
that the Motion to Suppress (#45) be denied in all respects.
       FURTHER, IT IS ORDERED:
       1.     The clerk shall cause a transcript of the hearing to be prepared and filed.
       2.     Pursuant to NECrimR 59.2, any objection to the magistrate's Findings and
Recommendation shall be filed with the Clerk of the Court within fourteen (14) days after
the unredacted transcript is available to counsel. Failure to timely object may constitute a
waiver of any such objection. The brief in support of any objection shall be filed at the time
of filing such objection. Failure to file a brief in support of any objection may be deemed
an abandonment of the objection.
       Dated this 13th day of May 2011.

                                             BY THE COURT:


                                             s/ F.A. Gossett, III
                                             United States Magistrate Judge
